Case 2:05-cr-20177-SH|\/| Document 97 Filed 07/01/05 Page 1 of 2 Page|D 89

IN THE UNITED sTATEs DISTRICT MIH=---%-'--m

FOR 'I'HE WESTERN DISTRICT OF TENN SSEE

 

WESTERN DIvIsIoN Jll.'l AH 'l* 55
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UNITED sTATEs oF AMERICA, G.%U.S.D$S CUBT
OFTN.AENH'B
vs. No. 05-20177-Ma

COREY WILLIAMS ,

Defendant.

 

ORDER GRAN'I‘ING PERMISSION FOR DEFENDANT TO TRAVEL

 

Before the court is the June 30, 2005, motion by defendant
Corey Williams requesting permission to travel to St. Louis,
Missouri, to attend a family funeral. Mr. Williams's Pretrial
Officer and counsel for the government do not object to the
motion. For good cause shown, the motion to travel is granted
and defendant is allowed to travel to St. Louis, Missouri, on
July l, 2005, and to return to Memphis on July 5, 2005, for the
purpose of attending a family funeral.

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It is so ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 97 in
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Honorable Samuel Mays
US DISTRICT COURT

